T03- -cv-08704 Document fr 1 Filed: 12/02/03 Page 1 of 29 PagelD #:1

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eenTeR FoR REALTORS a ee

 

 

 

__-MAGISTRATE: JUD
GERALDINE SOAT ae *

 

 

rae of te sata or ea

7 COMPLAINT OF EMPLOYMENT! DISCRIMINATION - i a -
1, This isan ation for employinent discrimination, tl

 

 

2 ‘The plaintiffis |

a te county of _f ee nb rato of 7 cis

— ITY eo

 

 
 
  

 

 

 

 

3B The defendant is _ oh

  

- resides at (street address) 16 rt FIR _
Cite cate OIE
‘Defendant's telephone number) aB- AA 1B
Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Peng of 29 PagelD #:2 “
: . aa a « - Oe . "age it

. 4) ) The planissought employent or was employed bye einen ot a a |
(sreetadies) ALGO SovTh HRSt AVE
(city HAM Wt com_Ceo Na code) GOI

5, The plaintiff [check one box] :

e (a) was denied employment by the defendant.

(b) was hired and is sill employed by the defendant .

oh)” was employed but is no longer employed by the defendant

The defendant discriminated against the plaintiff on of. about, or begining o on or stout

o toon b (oo 24 em_Z223: Zoo3.

 

 

 

 

 

 

 

 

| asserting the acts of discrimination indicated i in this complain with any of the following

 

ane . a
x the United States Equal Employment Orporniy Cominission ¢ on or about —
ae LO. __. (day) 30 (year) 20 3 ;

w “ the Illinois Department of Human 1 Rights on or about

- Goonst)__1D__ (day)_20__ 22 endo? 3

if charges were filed with an agency indicated above, & Copy of the charge i is

 

 

 

 

 

—@. 1

 

 

 

 

 

 

co attached. . ves NO- oo!

- It is the policy of both the Equal Employment Opportunity Commission and the Ilinois Department

- of Human Rights to cross-file with the other agency all charges received. The plaintiff has ng reason
| wb believe that this policy was not t followed i in this case. , .

 

 

 

8. (2)L_J. “the United States equ Emloynet on Commission has not issued a :
Notice of Right to Sue. CoN La srs a

| the United States Equal Employment Opportunity Commission has issued a Notice.

| of Right tc to Sue, which was received by the © plaintiff on (month) LL

 

 

 

 

 

 

 

wk
 

“or 05 (year) 2203 __ 2003 a copy of which Notice i is: 5 attached to this -

complaint. : io . _ © . 4

| pee

9. The defendan
. olf g Age (Age Discrimination Employment Act)

~ @LJ color (Title vi of the Civil Rights Act of 1964 and 42 2US. c. . §1981).

(LL Disability (Americans with Disabilities Act) a | oe
| BA National Origin (Tide Vit of the Civil Rights Act of 1964 and 43 U.S.C. 9m.
-. + @LA Rave (Title VII of the Civil Rights Act of 1964 and 42.U. S ©. g1981).
‘Religion (Title VII of the Civil Righis Act of 1964) _ .

7 “@ “Sex (Title Vit of the Civil Rights Act of 1964) fe
plaintiff i is suing the defendant, a state or local government agency, for discrimination on. on

 

 

 

 

 

 

 

 

 

 

 

 

“10. The
. the basis of race, color, or national origin (a US. C. C. §1983).
Rvs Ono Be
WM Jurisdiction over the statutory violation alleged is conferred as follows: over 2 Title Vil claims by .
"98U.S.C.§1331, 28U.S.C. §1343(e)(3), and 42 U.S.C.§2000e-5((3)s over 42 U-S.C.§1981 and .
fis By USC HIRE joverthe ADELA, by 42,U-S.0.§12117. ee ne

 

 

 

 

12. The defendant obec all that epply)

 

 

 

 

 

gL] tailed to hie the plains

od . terminated the plaintiff's colome oo ;

| on) : failed to promote the plaintiff . |
- @ failed to reasonably accommodate the plaintifi’s religion.

 

 

 

eoLl ted evn accommodate the plaintif's disabilities ae
of. other(opciy,_ iis eee

F aie : .

Lym:

RS “gine .

 

 

t discriminated against the psn because oft the pea (eke all that ab) qos

 
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Case: 1:03-cv-087@e@qpocument #: 1 Filed: 12/02/03 Pagel of 29PageID#:4 |.

 

 

 

 

 

oo 13, ‘The facts sup rting the ins clin of doi

os The i spe ing ie pi FITNESS CLUB AS A WORSE ea fllone PEs coun).

” ON Jan.24.08 HANAGER THOMAS RVD PRESS PoL OQ ARREST Me Cpoc4) .

sO THE SAKE DY THEY CANCEL HY HEMBERSI PCa} AND SODEXHO F;RED |
ROM OB x) L YEN: Cok TH Ln AT DATE ON

ar, mr | WAS ILEGAUY ARRESTED Ay CASE IM THE couRr WAS |
yn PENIEDSDO A A DiDpWwit €0- CH ARE reATON.

PIS 145° =
DOL 6) FAM NOT GUILTY, But | Lost *K 108 HOWOR CARRERA AND HEALTH.
BEDS DLUS Doc A EEDC PMP BOC T IDR AIMATIO My
+ SODEXHO ADDRESS" 1IGO 5S. FIRST AVE, May Oo} | : 32-N63130 —

_ 6 UNION ADDRESS: WE ,We CKER Ste 2600 CHICAGO, ci “60601 TELSIIN0-l600 :
14, [AGE DISCRIMINATION ONLY] Defendant nt knowingly, intentionally end willfully Co

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ discriminated against the plaintiff
45, The plaintiff demands thatthe case be tied by a jury. LJ YES NO" . .
/ 16. THEREFORE, the plaintiff asks that the court rt grant the following relief to the 36 plaintiff [check .
all that apply] : , wo
@iuJ - Direct the defendant to hire the plaintiff -
oh] Direct the defendant to re-employ the Plaintiff. -
| (c) Direct the defendant to. promote the plaintiff, |
(a) . Find that the defendant failed to reasonably accommodate the plaints religion,
- (e) - Find that the defendant failed to reasonably accommodate the plaintiff's disabilities.
okd Direct the defendant o (specif) “eiely Cpborudio ody Wealth ncuron

  

 

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a od if available, ‘grant the. plaintiff appropriate injunctive ‘relieé fost “wages,
liquidated/double damages; front pay, compensatory damages, punitive damages, -
prejudgment interest, post- ‘udement intrest, and costs, incliding reasonable sttorney

| . - fees-and expert witness fees.
oT cit char i

o 7 (Plaintiffs signature) eke
(Plaintiff's name) . 5 ACHE a R BA

7 ° Pini sect ores) _ S136 AGATITE: =
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oS ne ters TT 95-5 245 a oe

 

 

   

 

 
  
 
 

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¢ art Branch # (Court Da ) ~ {Arresting Agency #) >

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MISDEMEANOR _C COMBEEISE (5/22/97) CCCR-0655

     
 
  

no. O83 S00COF 32.

 
 

 

 

 

RL Zh, LING DP ; ZZ La pd eS 4. complainant, now appears before

The Circuit Court of Cook County and states the following:

 

 

That: - KH inl , GL ROLES. fr. of ' Mg Le VI7¢4 has, on or about
Lb Sigl OF wm at the location of _XLLO A=” ie mmx Gel neo LE.

committed the offense(s) of GDHELET Fle PEGLOT OY Una Ze
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oe a, YA PE THE
aw,
in violation of ___7-777__Tiiinols Compiled Statutes as f Lé- LLL

 

 

 

 

 

 

 

 

 

 

 

 

 

(Chapter) ct -
AOIC Code | (l
- ( Sigoature) AGUA DEL Ein
{le\|f Y CIO 2Ce |
(Comptainant's Address)
STATE OF ILLINOIS BL? eM GE
COOK COUNTY } ™ Harts. KRM LT

 

(Complainant's Name Printed or Typed)
The complainant, being first duly sworn on oath, deposes and says that he/she read the (re complaint by him/her subscribed and
~

that the same is true. ATL

~~ A ow Signature;

Subscribed and sworn to before me on this Z by " day of _ th aos
Koc nt

"oo (Judge or Clerk)
Thave examined the above complaint and the person presenting the same and have heard evidence thereon, and am satisfied that there is
probable cause for filing same. Leave is given to file sald complaint.

SUMMONS ISSUED, Judge

 

 

 

 

or . Judge's No.
WARRANT ISSUED, Bail set at:
or . :
BAIL SET AT: Judge
. ; Judge's Ne.

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(Township) |8. Type

$2. Victim Nanve (Last, First, (Firm or Business Name} . . 18, Paget or Cell Phone

OvVes ONo
27. Person(s} In veep Vv  Vietimn
Identifier Codes: = S - Suspect
Code Name (Last / First / Middle)

29, Vehicle Infomation

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Describe in Narrative)

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HBD OYes ONo

ORekased 0 DNA O UNFOUNDED
W + Witness G - Guardian MP - Missing Person C -Complainani PN - Persou Notified
}- Juvenile SP - Spouse MI - Missing Juvenile P - Parent O - Other (Specify)
Sex | Race | Date of Birth Address Phone Numbers (include AAC)

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O Club of Bludgeon Instrument 1, Other Means of Attack (or
13 Knife/Other Cutting Instrument

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Case: 1:03-cv-08

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: 12/02/03 Page 10 of 29 “HOC “Z
a

 

LOYOLA
UNIVERSITY
CHICAGO

Center for Health & Fitness

January 27, 2003

Maciej Goraj
5136 W. Agatite
Chicago, IL 60630

Mr. Goraj:

2160 South First Avenue
Bldg. 130
Maywood, Illinois 60153

Telephone: (708) 327-2348

This letter is to inform you that your membership privileges at the Loyola

-~» University Chicago Center for Health & Fitness are revoked effective immediately.

This action is based on the seriousness of your behavior in the center the morning of
Friday, January 24, 2003. The Cock County Sheriff's Department and Loyola University
Medical Center campus security is fully aware of this incident and your revocation. Theft
will not be tolerated by the Center for Health & Fitness or the Loyola University Health
System. As a result, you are no longer welcome in the Center for Health & Fitness.

Be assured that you will receive no further billing from the Center for Health & Fitness.

Sincerely,

Catherine M. Zelinski
Executlyg Director

Ce:

    

Member File

Loyola Security, Mauree

 
 
 
Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 11 of 29 PagelD #:11.

Chicago's Jesuit University | & -
LOYOLA 2160 South First Avenue

Yip = UNIVERSITY Moxa, tlinois 60153
i & CHICAGO Telephone: (708) 327-2348

 

Center for Health & Fitness

May. 16, 2003

Mrs. Hanna Goraj-Umiastowska
P.O. Box 30039
Chicago, IL 60630 -

RE: Maciej} Goraj

Mrs. Goraj-Umiastowska:

Per your request, this letter reiterates the fact stated in the attached letter sent January 27,
2003, that Maciej Goraj is no longer eligible to be a member of the Loyola University
Chicago Center for Health & Fitness. His privileges were revoked immediately and
permanently after witnesses saw him withdraw and conceal money from a cash station
machine located at the Center for Health & Fitness entrance. He did admit to the
authorities that the money was withdrawn from an account of an unknown party, and not
his own.

Additionally, I have attached a copy of the signed membership agreement. Please refer to
the highlighted section in paragraph 6, stating, “ LUCHF reserves the right at any time to’
terminate immediately the membership of any member for failure to comply with this
Contract, the Rules and Regulations adopted by LUCHF, or conduct which is detrimental
to LUCHF, or to the health and safety of the staff or other members or guests. In
paragraph 11, the agreement states, “On all questions regarding the interpretation of
LUCHF'’s Terms and Conditions or Rules and Regulations, the decision of LUCHF’s
decision will be final.

In closing Hanna, I did state to you that membership at the Center for Health & Fitness,
or any health club for that matter, is a privilege. Regrettably, Maciej was seen
performing a dishonest act in the Center. For the safety of other member’s belongings
and items in the Center, I have made the decision to refuse Maciej membership
privileges.

C&thefine M. Zelinski pleat.

Executive Director

Cc: Member File
9% ¢qx9Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 12.:0f 29 PageIDus taint

tbl LOYOLA UNIVERSITY CHICAGO

4

CENTER FOR HEALTH & FITNESS ="
2160 SOUTH 1t*' AVENUE BLDG 130
MAYWOOD, IL 60153-0340
(708) 327-2348 PHONE
(708) 327-3513 FAX

 

FACSIMILE TRANSMITTAL SHEET

 

 

 

 

 

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NOTES/COMMENTS:

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Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 13 of 29 PagelD #:13

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To: Loyola University Center for Health and Fimess
Cathy Zelinski, Director
December 15, 2000

I would like to reserve the Wellness Room at the Fitness Center on
Jan. 19, 2001, from 2-5pm.

The room will be used to show and display natural, nutritional products and
services for health and success-conscious individuals everywhere. Interested
individuals can come in for a few minutes and learn about these products

through literature and video, as well as our explanation.

Nutrition for Life International, the company J work with, promotes healthy
and successful lifestyles, Since 1984, NFLI is committed to making a |
difference in peoples’ lives by offering a complete tine of nutritional
products and a business opportunity. All of our products are specially
formulated and laboratory-tested using the finest ingredients possible and
they are sold by thousands of independent distributors all over the world.

If this proves to be beneficial, I would likely want to do this about every
other month, | |

Thank You

ciej Goraj

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i o Case: 1:03-Cv-08 /fidDocument #: 1 Filed: 12/02/03 Peng“ of 29 Pee #:14

. ’ Center for pe iB Peek + Pacest
Ys Health and Fitness
33 838

i¢ 3) paRTIES—this Membership Contract (the “Contract”) is pgde thiso@B day of S444 199 ZR between The Center for Health & Fitness of Loyola Univers
Chicago ("LUCHF"}, and x ' CI ce A GO Ad | ___, as the Member (“Member*). The Member is hereinafter sometimes refem

collectively as "you" or “your.*:

 
  
   

 

 

tastName GORA JI Fistname MACIE\ Middle initial =
Home addres 5136 W AGATITE cy CHICAGO state |L_ 29 OG
rome Phone (113) 6 & 5 §9 25 vourtirhdate O03 11.50

 

  
     
 

    

 

 

Business Name E AUC = M $ = 5 Ext.
ousness addres 6O S FIRST AVL. HAY WooD (L.
How did you hear about us? In Emergency, please contact Phone ( )

if employee, social security number

3, DESCRIPTION OF MEMBERSHIP—You have purchased the type of membership indicated below: .

[.JEmployee [ ]individual [ ]Couple [ ] Dependant (18 & alder) [ } Senior (62 & over) [ ] Alumni er Atuvico Madre
Applications for couple & dependent memberships will only be accepted for individuals residing at the same address ,

H Spouse or Dependents are Members, list names and their birthdates:

 

 

 

 

 

 

4. MEMBERSHIP TERM AND COST—Your membership starts today. The Membership Fee consists of the Enroilment Fee of $. Zz So < and Monthly Di

per month. Except a5 expressly provided in this Contract or otherwise required by law, the Enrollment Fee and Monthly Dues are not refundable. You shall p
Enrollment Fee to LUCHF on the day you sign this Contract and you shail pay the Monthly Dues as set forth in Paragraph 5 of this Contract. Monthly Dues shail continue rege
of use until Member notifies LUCHF in writing providing 30 days notice thafMember wishes to cancel this membership. Such natice shall be accompanied by an LUCHF Cance
Form and return of Member's membership card and any other evidence of membership provided ta Member and must be returned to Loyola University Center for Health & F
2160 5. First Avenue, Maywood, IL 60153. Provided Member is in good standing (i.e, in compliance with the terms and conditions of this Contract) and the Enrollment Fee i
in full, Member may within thirty (30) days of the date of this Contract, or on the yearly anniversary date of this Contract, pay in advance for a full year of Monthly Dues. If or

_ $0n of a couple membership terminates membership, the remaining member will pay regular individual dues.

OMATIC PAYMENT PLAN for monthly dues—You hereby authorize LUCHF, to undertake the following credit card charges, withdrawals by Electronic Funds Transfe

Payroll deduction (check desired boxes) for the payment of Monthly Dues:
Exp. Date 6 ?/ O Cc

 
 

Charge credit card: { |Mastercard []Visa [ ] Discover Account No.

 

 

 

”~
_ H Sy ¥y
: Signature Lop \ x
wt Cd I/F
Withdraw from bank account: [ [Checking [ ]Sevings Bank Name & A .
oR ‘ : / PLEASE ATTACH VOIDED CHECK OR DEPOSIT SUP AS APPLICABLE

[ j Payroll Deduction

A.[ | MONTHLY PAYMENT PLAN, You elect to pay $__ “7 > CO et month beginning Sof Pate PBucue is authorized to increase chargeswithdrawals fi
Monthly Dues in accordance with this Membership Contract.

8.[ ] ANNUAL PAYMENT IN FULL. You elect to pay for 12 months in advance the amoumt of $
of the 12-month period.

This Authorization will remain in effect throughout the initial term of your membership and any renewal terms unless and until you give proper written notice of termina
LUCHF at least 30 days before your next payment is to be made. If you provide LUCHF with a proper written notice of termination, and LUCHF does not do so, LUCHF will «
liable to return any amounts transferred after the 30 day termination notice was provided.

Name of authorizing Member (Please Print) Acl 3 Date O825.9 a

~

. Any increase in Monthly Dues will not be reflected until t

 

Signature of Authorizing Member ef
(As authorizing member, | hereby agree to ashame fpiancial respghsi iif for thi/Contract and all additional members named on this Contract.)

6. WAIVER AND RELEASE—You acknowledge that your attendance at or use of LUCHF,
including without limitation your participation In any of LUCHF’s programs or activities
and your use of LUCHF’s equipment and facilities, and transportation provided by LUCHE
could cause injury te you. In consideration of your membership In LUCHF, you hereby ,

 

Account Number to Debit

 

 
w

Case: 1:03-cv- Of ggl Document #: 1 Filed: 12/02/03 Page 15 of 29 “DOC 3

* * *

Sodexho

HEALTH CARE SERVICES .

Maciej Gora}
5136 W. Agatite
Chicago, Illinois 60630

February 27, 2003

Dear Mr. Goraj,

This is to inform you that you are being terminated effective immediately. You are being
terminated for the following reasons:

Theft

4

Benefit time was paid on pay period ending February 15, 2003. Your pay consists of 24
hours of sick time and 70 hours of vacation time. This check is included in your certified
notice.

Respectfully,

4 Mobd!

Amy Marshall
Houspkeeping Human Resource Manager

   

afm

Sodexho Health Care Services » Loyola University Health System, 2160 S. Ist Avenue, Maywood, IL 60513
Telephone: 708-216-3730 Fax: 708-216-5441

 

Member of Sodexho Alliance

 
Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 16 of 29 ny #:
a “ OC 4

STATE OF ILLINOIS )
) SS:
COUNTY OF COOK).

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT-MUNICIPAL DIVISION

PEOPLE OF THE STATE )

OF ILLINOIS, )
Plaintiff, ;

VS. No. 03 MC 5 00832
MACIEJ GORAJ »
Defendant. }

REPORT OF PROCEEDINGS had at the hearing
of the above-entitled cause, before the Honorable WILLIAM J. AUKSTIK Judge of
said court, on the 257" day of March, A.D., 2003.

PRESENT:
HON. RICHARD DEVINE,
STATE’S ATTORNEY OF COOK COUNTY, BY:
MS. AYESHA KHAN,
Assistant State’s Attorney, .
appeared on behalf of the Plaintiff;

MR. STEVEN KASEKI, ;
appeared on behalf of the Defendant. 4

Doris White Delaney
Official Court Reporter
16501 Kedzie Parkway
Markham, IL 60426

License Number 084-001087
. ee) Ld

eo me QU HR Ww

Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 17 of 29 PagelD #:17

-~ ma

THE CLERK: Gorgj.
THE DEFENDANT: I wait until my lawyer~
THE COURT: Have a seat.
Ayesha, look at this file. This is set for some kind of a trial for taking
twenty dollars from somebody. —
(Whereupon the case was passed, after which the
following proceedings were had:)
THE CLERK: Goraj.
MR. KASEKI: Good moming, Steven Ka-se-ki (phonetic) appearing on
behalf of Mr. Goraj.
MS. KAHN: This was a 1:30 case. It is now 2;33; the complaining witness is
not here.
It will be motion State, SOL.
THE COURT: We will note a demand.
MR. KASEKI: Thank you.
—_

sO @ ~J A UA. c~ ue No

Case: 1:03-cv- Ojai 4 Document #: 1 Filed: 12/02/03 Fale 18 of 29 PagelD #:18

STATE OF ILLINOIS )
COUNTY OF COOK)

_ I, DORIS WHITE DELANEY, Official Shorthand

Reporter of the Circuit Court of Cook County, County Department-
OTE |
Municipal Division, do hereby cert f t

    

‘eported in shorthand
the evidence had in the above-entitied cause and that the foregoing

is a true and correct transcript of all the evidence heard.

baw thitatint, >

Official Shorthand Reporter

 

Circuit Court of Cook County
County Department-Municipal Division

License #084-001087
Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 n 19 of “DOC $
, . . ~~ ,

LOCAL 7 Fax Transmission

Local 1
Service Employees International Union
111 East Wacker, Suite 2500
Chicago, IHinois 60601

   

Tom Balanoff
President

Stronger Together

DATE:_7eh - bl - 2003

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FROM: Chad). “eee
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Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 20 of 29 PagelD #:20

 

S.E.|.U. LOCAL 1
UNION MEMBER'S COMPLAINT BLANK

Date Fo( Ul 2oe3

 

 

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Member's Name Home Address / Telephone
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i Building Address Where Empicyed Seniorny
Sodexle 208) iL(6 ~3730
Owner or Operator : Telephone

 

 

 

 

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a Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 - 21 of 29 PagelD #:21

 

Stronger Together

THOMAS BALANOFF
President

CHRIS ANDERSEN

Secretary-Treasurer

VICE PRESIDENTS
MARIA GRACIELA BARRERA
RODERICK S$, BASHIR
AIRRINE M. CASTLE
NANCY E, CROSS

PETER J. HANRAHAN

DAN IVERSON

KAZIMIERZ LUPA

VINCE PESHA

PATRICIA ARROYO
Recording Secretary

SERVICE EMPLOYEES
INTERNATIONAL UNION
AFL-CIO, CLC

111 East Wacker Drive
Suite 2500

Chicago, tL 60601
312.240.1600

Fax: 312.233.8849

www. seiu t.org

@ +h ase

 

VIA CERTIFIED

July 30, 2003

Mr. Maciej Goraj

5136 W. Agatite

Chicago, IL 60630

Re: Grievance Dated February 11, 2003

Dear Mr. Goraj:

Please be advised that the above-mentioned grievance has been
processed. The Unicon has reviewed the information presented at
your grievance meeting on July 16, 2003, and have determined that
the matter cannot be successfully pursued through arbitration.

Therefore, the Union considers this matter closed.

if you have any questions regarding this mater please feel free to
contact Charles Jones, your Union Representative at (312) 233-8782.

Sincerely,

Fey

Richard Owsiany
Servicing Coordinator

RO/am

Cc: Charles Jones
Dan Schlademan

MACIEJSGORAJ7-30-03
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SEIU

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THOMAS BALANOFF

President

CHRIS ANDERSEN

Secretary-Treasurer

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312.240.1600

Fax: 312.233.8849

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o Case: NOS ev 00s" Document #: 1 Filed: 12/02/03 Page 22 of 29 PagelD #:22

August 14, 2003

Maciej Goraj
5136 W. Agatite
Chicago, IL 60630

Dear Mr. Goraj:

As you requested of Richard Owsiany, Servicing Coordinator for
the Union, the facts of your termination have been reviewed in light of
the provisions of the collective bargaining agreement, accepted labor
relations practices and the standards applied by arbitrators in cases
where theft is alleged.

Based on that review, the Union has again determined that further
efforts to obtain your reinstatement, either through voluntary agreement
by the employer or the decision of an arbitrator, would not be successful.

The circumstances under which you obtained possession of the
money from the ATM and the fact you took no steps to either turn in the
money or report the incident, as well as your conflicting statements
regarding your intentions, convinced the Union that an arbitrator would
judge you intended to take and keep the money.

For these reasons the Union has determined not to re-open your
grievance or to take any further action to have you reinstated.

Sincerely,

JAR

Dan Schlademan
Director
Commercial Division

DS/me

 
Case: 1:03-cv-0 ae Document #: 1 Filed: 12/02/03 Page 23 of 29 PagelD #:23
~*~ ServiceMaster Management

_ ServiCeMAST. : ServiceMaster Bian

One ServiceMaster Way
Downers Grove, IL 60515-1700.
630/271-1300

Fax: 630/271-5324

March 4, 2002

Mr. Maciej Goraj
5136 W. Agatite
Chicago, Illinois 60630

Dear Mr. Goraj:

weer le wit pe

This letter i is in response to your Step I I grievance filed at our office by your union
representative in early December 2001. On December 12, 2001 a meeting was held with
you, Mr. Charles Jones, Mr. Clifton Williams and Ms. Christine Stevenson your union
representatives for the purpose of discussing your original grievance. During this meeting
we thoroughly reviewed the circumstances surrounding your apparent change in work
responsibilities. We also talked about the office cleaning reduction that was associated
with this change and truly felt that the give and take surrounding this change did little to
harm you or increase your work effort. After our meeting I authored a separate letter to
your union representative, Mr. Charles Jones, defining our position on this issue, |
recommending, changes and requesting his understanding. We met last Friday, March
1,2002 and agreed that we would discuss schedule changes i in the future before |
implementation. I truly hope you understand this reasoning and can accept our agreement.

|
Based on this agreement I. must conclude that this Step II grievance is denied and I will

consider this case closed. Should you not agree and wish to pursue this matter further L
- would encourage you to seek additional assistance and advice from your Local 1 union
~ steward. BO . .

   
  

John Donnellan
Manager, People Services -
ARAMARK ServiceMaster at Loyola

    

Porgy oe

  

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Case: 1:03-cv- (gag 4 Document #: 1 Filed: 12/02/03 ma: 24 of 29 PagelD #:24

Maciej Goraj
P.O. BOX 30039
Chicago Il. 60630

My disappointment
My name is Maciej Goraj. I filled grievance on August 08, 2001 with my Union Stuart
Mr. Williams Clifton because of added workload. I haven’t had second step yet. My
Representative Mr. Charles Jones in not doing good job, he doesn’t respect agreement. My
manager is happy that he design extra job for me and Union is without any reaction-silent. I am
very unhappy with the results. On Oct 31, 01 I called again Mr. Jones and his voice mailbox was
full and was not accepted any calls.

iej bey IP
ey

{information for:

Mrs. Nancy Cross

Mr. Charles Jones eS ke 3s / of
111 W. Jackson f
Chicago II. 60604

Fax: 321.322-3229

312) 922 61 (4

Rid) 322 32.29

 

 
_Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 25 of 29 PagelD #:25

AUGUST 8.2001
TODAY .AN EMPLOYEE MACIEJ GORAJ AND THE OPERATION MANAGER MR.
TONY MALLOY HAD A MEETING ABOUT ADDING WORK TO MR.MACIEJ GORAJ
WORK SCHEDULE .| CLIFTON TOLD.MR, MALLOY THAT HE COUT NOT ADD
ANY WORK THE EMPLOYEE SCHEDULE BUT TONY SAID HE WOOD ADD WORK
TO HIS WORK LOAD. THIS WORK LOAD IS BEING ADD. TO. THE EMPLOYEE AERA
iS NOT HOUSEKEEPING WORK .IT, SI SERVICES: ASSOCIATE WORK BESIDE
ADDING THIS EXTRA WORK IT IS AN UNREASONABLE WORK LOAD THIS IS A

| VIOLATION OF THE CONTRACT.ON SECTION 8 PAGE 10 AND ALL REVELANT

gE eTIONS-OF THE CONTRACT. THIS FORMAL GIREVANCE ISBEINGFILED-" ss |
INBEHALF OF .MR,MACIEJ GORAJ . |

 

 
 

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MR, MACIEJ GORA

 

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Case: 1:03- “ov go D Document Hod Filed! #5102108 jaage 26 APOE &:

va Equal Employment Opportunity Commission

 

 

oe DISMISSAL AND NOTICE OF RIGHTS

 

   

To: Maciej Goraj From: Chicago District Office
5136 W. Agatite Equal Employment Opportunity Commission
Chicago, Illinois 60630 500 West Madison Street, Suite 2800.

Chicago; Itlinois 60661-2511
7001 1940 0003 3 8828 4980

On behalf of a person | aggrieved whase identity | is

 

[ ]
CONFIDENTIAL 9 CFR 1601. 7{a ; ee eee ae —
Charge No. ~~ EEOC Representative Telephone No.
210-2004-00635 Marie Holland, Investigator (312) 353-1563

 

(See the additional information attached to this form.)

YOUR CHARGE IS DISMISSED FOR THE FOLLOWING REASON:

[ ]
[ J
[ 1
fj
[ ]
[ ]
[x]
C J!
[x]
[xX]
-

J0-3)-03 POL

Enclosures

Information Sheet awe re
Copy of Charge

The facts you allege fail to state a claim under any of the statutes enforced by the Commission
Respondent employs less than the required number of employees,

Your charge was not timely filed with the Commission, i.e., you waited too long after the date(s) of the discrimination you alleged to
file your charge. Because it was filed outside the time limit prescribed by law, the Commission cannot investigate your allegations.

You failed to provide requested information, failed or refused to appear or to be available for necessary interviews/conferences, or
otherwise refused to cooperate to the extent that the Commission has been unable to resolve your charge. You have had more than 30
days in which to respond to our final written request.

The Commission has made reasonable efforts to locate you and has been unable to do so. You have had at least 30 days in which to
respond to a notice sent to your last known address.

The respondent has made a reasonable settlement offer which affords full relief for the harm you alleged. At least 30 days have
expired since you received actual notice of this settlement offer.

The Commission issues the following determination: Based upon the Commission's investigation, the Commission is unable to conclude

that the information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with the
statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

Other (briefly state) —

 

- NOTICE OF SUIT RIGHTS -

Title VII and/or the Americans with Disabilities Act: This is your NOTICE OF RIGHT TO SUE, which terminates the

Commission's processing of your charge. If you want to pursue your charge further, you have the right to sue the respondent(s) named in
your charge in U.S. District Court. If you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this Notice; otherwise
your right to sue is lost.

Age discrimination in Employment Act: This is your NOTICE OF DISMISSAL OR TERMINATION, which terminates processing

of your charge. If you want to pursue your charge further, you have the right to sue the respondent(s) named in your charge in U.S.
District Court. If you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this Notice; otherwise your right to sue is
lost. :

Equal Pay Act (EPA): EPA suits must be brought within.2 years (3 years for willful violations) of the alleged EPA ‘underpayment. cy

 

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cc: Respondent(s) Sodexho Healthcare Services

‘ “4 EEOC Fonm 161 (Test 5/95)
- a
    

Case: 1:03-cv-08704 Document #: 1 Filed: 12/02/03 Page 27 of 29, Pag dD

—a,

James R. Thompson Center, Suite 10-100

Chicago, Iflinois 60601
312-814-6200
Rod R. Blagojevich, Governor
Rocco J. Claps, Director

   

312-263-1579 (TDD)

October 30, 2003
Intake Supervisor, a
Equal Employment Opportunity Commission| lt I:
500 West Madison, Room 28 FES i os
Chicago, Illinois 60606 Chee

REF: Complainant: Maciej Goraj
~—— Control Nor 04 W 1030-03 eb Te

Dear Intake staff Representative:

Pursuant to our current work sharing agreement, I am transmitting the attached inquiry to EEOC
for processing for the following reason:

that are timely with EEOC. fi
pf
(C]) EEOC is to investigate all changes alleging retaliation for having filed an earlier charge
with EEOC. : ] |
(C1) The Respondent is not an employer under the Illinois Human no Act, but may be an
employer under Title VII or r the ADEA. '

THEREFORE, THE DEPARTMENT OF HUMAN RIGHTS WILL NoT INVESTIGATE ANY

OF THE ISSUES IN THIS INQUIRY. FOR PUREE NVESTIBATION
_ (Contact Intake Supervisor at EEOC) 31 2-353-2713

Sincer ely, uw,

&) The attached intake inquiry contains one or more issues that Fr not timely with IDHR but

Raquel © Guerra
Program Administrator
Intake Division

 
cpa

Case: 1:03-cv- Opei+ Documents a Filed: 12/02/03 rage 28 of 29 PagelD #: 28

 

” EEOC Form 5 (6/01)

* CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act {| FEPA
Statement and other Information before completing this form.
Lh [><] EEOC 210-2004-00635

 

 

Illinois Department Of Human Rights and EEOC
State of local Agency, if any

 

Name (indicate Mr., Ms., Mrs.) Home Phone No, (inc! Area Coda) Date of Birth

Mr. Macie] Gora] __ (773) 685-5825 03-11-1950

 

 

 

Street Address City, State and ZIP Code
5136 W. Agatite, Chicago, IL 60630

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (if more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
SODEXHO HEALTH CARE SERVICES 501 or more (708) 216-3730
Street Address City, State and ZIP Code :
2160 S. First Avenue, Maywood, IL 60513
Name No. Employees, Members Phone No. (include Area Code)
Street Address . City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriaie box(es}.} DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest
RACE COLOR SEX ELIGIO! NATIONAL ORIGIN
Lye CC] C) [_Jreucion [Jnr 01-24-2003 02-15-2003

[7] RETALIATION [x] AGE [] DISABILITY [] OTHER (Specify below.)

 

[] CONTINUING ACTION

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):

| began employment at Respondent in 1992. | performed my job in a satisfactory manner throughout my
employment. On January 24, 2003, | was suspended allegedly for theft. On February 15, 2003, | was
discharged. I have never stolen anything and the manager, who Is Black, refused to allow me an opportunity
to defend myself against the false allegation.

| believe | was discriminated against on the basis of my age, 53 (d.o.b. 03-11-1950), in violation of the Age
Discrimination in Employment Act of 1967, as amended. | also believe | was discriminated against on the
basis of my race, non-Black, and national origin, Polish, in violation of Title Vil of the Civil Rights Act of
1964, as amended.

RECEIVED EEoc RECEIVED EEOC

OCT 5 0 2003 acT 3 0 2003

CHICAGO DISTRICT OFFICE = CHIC. ST oes

 

T want this charge filed with both the EEOC and the State or local Agency, if any. |_| NOTARY - When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them In the processing of my charge In accordance with thelr

 

procedures. | swear oF affirm that | have read the above charge and that it is true to,’

 

 

| declare under penalty of perjury that the above |s true and correct. the best of my knowledge, Information and belief. coe tl
SIGNATURE OF COMPLAINANT ao

q SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Oct 30, 2003 ake 7 Wa (month, day, year)
Date we al Wau

 

 

 
Case: LOS cv Ca Document #1 Filed: 12/02/03 a 29 of 29 PagelD #:29

 

 

oh MAGISSTAR

Thank you for your STELLAR action exemplifying the
MAGIS values of Care, Concern, Respect and Cooperation!

Anthony L. Barbato, M.D.
President and Chief Executive Officer
Loyola University Health System —

‘Loyola University Medical Center

v

 

 

 

 

 

 

c wv wos &
Briefly describe the STAR behavior demonstrated by: —

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Macie\ Gora, —_Houxekeeping
eh ~~ .

_ {Employee name) (Employee department)

 

 

 

Date: (0-14-92 | . Time: Lr ets tan

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a c tw Star Gazer

 

 
